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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL
Case No. CV 20-8143 GW (MRW) Date November 9, 2020

 

Title Hill v. Sherman

 

Present: The Honorable Michael R. Wilner

 

 

Veronica Piper n/a
Deputy Clerk Court Reporter / Recorder
Attorneys Present for Petitioner: Attorneys Present for Respondent:
None present None present
Proceedings: ORDER TO SHOW CAUSE
1. After screening Petitioner’s habeas corpus petition, the Court (Magistrate Judge

Wilner) ordered Petitioner to submit a supplemental statement addressing several obvious
defects with the habeas action. (Docket # 6.) Petitioner failed to file an appropriate response.

2. Petitioner is ordered to show cause why the action should not be dismissed for the
defects noted in the screening order and for failing to comply with a court order. Petitioner’s
response to the OSC and the substantive supplemental statement are due by or before
December 7, 2020.

Failure to file a timely submission as directed above will result in a recommendation
that this action be dismissed for failure to prosecute and obey Court orders pursuant to
Federal Rule of Civil Procedure 41(b). Applied Underwriters, Inc. v. Lichtenegger, 913
F.3d 884 (9th Cir. 2019).

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